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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 1:12-CV-22800-UNGARO/TORRES

  PATRICK A. BURROWS, individually,
  and on behalf of all others similarly
  situated,

                         Plaintiff,
  v.

  PURCHASING POWER, LLC, a foreign
  limited liability corporation,

                          Defendant.

                 NOTICE OF FILING DECLARATION OF CLASS
       ADMINISTRATOR IN SUPPORT OF APPROVAL OF CLASS SETTLEMENT

        The parties jointly file the Declaration of Class Administrator in Support of Approval of

 the Class Settlement attached hereto as Exhibit A.

                                                  /s/ D. Matthew Allen
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 24, 2013, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on the following counsel of record.

                                                      /s/D.Matthew Allen
                                                      Attorney


                                         SERVICE LIST

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